Case 1: 04- -C\/- -01101- .]DT- STA Document 33 Filed 05/13/05 Page 1 of 2 Page|D 49

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IN THE UNlTED sTATEs DISTRICT coURT 4r / ~ ' ,{j
FoR THE wEsTERN DISTRICT oF TENNESSEE 3 P,¢,,
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TAMF.KA EMERsoN ) O/" F/;V_é` ogry §
) ‘¢4€ C"/r
Plaintiff, )
)
v. ) case No. 1-04-1101-T-AN
)
ALEXANDRIA PLAcE-AssIsTED )
leING BY AMERICARE )
coMPANY, ET AL. )
)
Defendants. )
"` om)ER oF DISMISSAL

This matter coming on the parties’ Stipulation for Dismissal With Prejudice and the

F`.

Co\i_ljt' being fully advised in the premises:
" It is ORI)ERED that the above cause of action is hereby dismissed with prejudicel Each

party shall bear its own costs and attorney’s fees.

Ch/MA¢M

UNIFD sTATEs DISTRICT JUDGE

DATED; /3) Mé/?/'%Y\S_/

Th!s document entered on the dockets ln compliance

with Rule 58 and,'or_?a (a) FRCP on § l i LQ l §§ 5

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Honorable J ames Todd
US DISTRICT COURT

